     Case: 1:20-cv-07692 Document #: 13 Filed: 01/22/21 Page 1 of 2 PageID #:108




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

JERRIE HINDS and COURTNIE                         :    Case No. 1:20-cv-07692
PATTERSON, individually and on behalf of          :
all others similarly situated,                    :    Judge Pallmeyer
                                                  :
       Plaintiffs,                                :
                                                  :
v.                                                :
                                                  :
RESPONDUS, INC. and LEWIS                         :
UNIVERSITY,                                       :
                                                  :
       Defendants.                                :


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                 OF PLAINTIFF JERRIE HINDS’ CLAIMS ONLY

       Pursuant to and in accordance with Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Jerrie Hinds hereby voluntarily dismisses her claims in the above-entitled

action without prejudice. Plaintiff Jerrie Hinds’ claims were solely against Respondus, Inc. and

not against Lewis University. Nothing in this dismissal is, or shall be construed to be, a

dismissal of Plaintiff Courtnie Patterson’s claims against Defendants.



Dated: January 22, 2021                       Respectfully submitted,

                                              /s/ Brian K. Murphy
                                              Brian K. Murphy (6225697)
                                              Jonathan P. Misny
                                              Murray Murphy Moul + Basil LLP
                                              1114 Dublin Road
                                              Columbus, OH 43215
                                              Telephone: 614.488.0400
                                              Facsimile: 614.488.0401
                                              E-mail: murphy@mmmb.com
                                                      misny@mmmb.com
    Case: 1:20-cv-07692 Document #: 13 Filed: 01/22/21 Page 2 of 2 PageID #:109




                                              Mary C. Turke
                                              Turke & Strauss LLP
                                              613 Williamson Street #201
                                              Madison, WI 53703
                                              Telephone: 608.237.1775
                                              Facsimile: 608.509.4423
                                              E-mail: mary@turkestrauss.com

                                              Anthony I. Paronich
                                              Paronich Law, P.C.
                                              350 Lincoln Street, Suite 2400
                                              Hingham, MA 02043
                                              Telephone: 508.221.1510
                                              E-mail: anthony@paronichlaw.com

                                              Counsel for Plaintiff



                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2021, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by email to counsel of record by operation of the court’s

electronic filing system.


                                              /s/ Brian K. Murphy
                                              Brian K. Murphy




                                                 2
